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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


JUUL LABS, INC.,

                     Plaintiff,


v.                                                     Civil Action No. 1:19-cv-00715


THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                     Defendants.




                             NOTICE OF MOTION TO SEAL

       Pursuant to Local Civil Rule 5(c), Plaintiff Juul Labs, Inc. hereby notices the filing of

Plaintiff’s Motion for Leave to File Under Seal and/or Redacted Documents for Good Cause.
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Date: June 4, 2019                Respectfully submitted,

                                  /s/ Monica Riva Talley
                                  Monica Riva Talley (VSB No. 41840)
                                  Byron Pickard (VSB No. 47286)
                                  Dennies Varughese, Pharm.D. (pro hac pending)
                                  Nirav N. Desai (VSB. No. 72887)
                                  Nicholas J. Nowak (pro hac pending)
                                  Daniel S. Block (pro hac pending)
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